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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

ROSE MARIE LEE,

               Plaintiff,                             Case No. 1:17-cv-619

v.                                                    HON. ROBERT J. JONKER

CREDIT PROFESSIONAL
SERVICES CORP., et al.,

            Defendants.
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                                     NOTICE OF DISMISSAL

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, plaintiff files this

Notice of Dismissal, to dismiss this lawsuit, with prejudice, as to all defendants.

Dated: August 29, 2017                                /s/ Phillip C. Rogers
                                                      Phillip C. Rogers (P34356)
                                                      Kevin J. Rogers (P81303)
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